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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

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In Re: OIL SPILL BY THE OIL RIG
"DEEPWATER HORIZON" IN THE GULF OF
MEXICO, ON APRIL 20, 2010,

Applies to:

12-311, Cameron Int'l Corp. v. Liberty
Ins. Underwriters, Inc., a/k/a Liberty
Int'l Underwriters

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VIDEO DEPOSITION OF WILLIAM "RUSTY" LEE
Houston, Texas

Friday, August 9, 2013

REPORTED BY:
Linda Rayburn, CSR, RPR, CLR
JOB 64256

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1 W. LEE

2 Mr. Bastman said, other than he would have been
3 giving where he was in time and depending on if
4 we were in Bermuda or London, what the latest

° up-to-date status was.

6 Q. Do you recall a meeting with

7 Mr. Mandel or talking with Mr. Mandel during that

8 renewal period in 2011?

9 A. I do not. I'm sure I had some

10 conversation with -- let me back up. The period
11 you're talking about was -- this is the period

12 that Liberty did the last renewal?

13 Q. Correct, the July 2011.

14 A. Okay. I do not recall specifics of
any discussion. And I'm not sure we met with him

16 that year.

Wy Q. But you would have talked to him,

18 correct?

19 A. I'm sure I would have talked to him.
20 Q. And did you provide any of the
21 insurers with any of the public filings that

22 Cameron makes, such as its annual report or its
23 10-Q's, in connection with the renewal process?
24 A. Of what year?

25 Q. The same one.

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1 W. LEE

2 A. I do not recall what was given for

3 that renewal. I can tell you that Cameron gave
4 us a stack of annual reports every year to give

° out to the markets. We supplemented that by

6 going in and copying the latest 10-K off the

7 internet and making a nice color copy of that for
8 underwriters and that's what we would give out to
9 the markets.

10 I can't say I gave that to every

it market, but that was our standard: Submission, |

12 annual report, and the latest 10-K. And then the

13 referral, at some point -- and I'm not sure it's

14 in the submission or wherever -- to the website

15 and how they could go on the website and get

16 that.

17 Q. The Deepwater Horizon website?

18 A. Correct.

19 And I want to interject another thing

20 as far as the notice to the carriers and
2 what-was-going-on status. There was a website
22 set up by Cameron that -- that hosted the latest
23 update on the case as it developed. And to my

24 knowledge, any underwriter that wanted to know

25 the status could have gone to that website -- and

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1 W. LEE

2 their claims people did. And they were

3 constantly updated as to what was going on in the
4 case. That's my recollection.
° Q. Did you personally review Cameron's

6 public filings during this time period to keep up

7 with what Cameron was reporting to the public
8 about the Deepwater Horizon incident? ,
3 A. I'm sure that I did, but I can't
10 recall specifically. |
11 Q. And you -- and you are aware that

12 Cameron, during the entire time period before it

13 settled with BP, did not accrue a single dollar

14 of -- for potential liability in the Deepwater

15 Horizon incident?

16 MR. BOYLE: Objection to form.

17 MR. KORN: Objection to form. The

18 documents speak for themselves.

19 A. I am not aware of that.

20 Q. (BY MS. BARRASSO) You don't remember

21 that Cameron stated in its public filings that it

22 didn't believe a loss was probable and therefore
23 didn't accrue anything?
24 MR. KORN: Objection to form.

25 A. Ido not recall that.

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